   Case 5:20-cv-02332-JWH-KK Document 139-2 Filed 08/16/22 Page 1 of 11 Page ID
                                    #:4616

  From: Rajan Dhungana rdhungana@fedpractice.com
Subject: Re: Depositions of Heredia and PMK of HBM; Request to Meet and Confer per L.R. 37-1
   Date: July 28, 2022 at 9:47 AM
     To: Andrew White awhite@vgcllp.com, Diyari Vazquez dvazquez@vgcllp.com, Cristina Lagarde clagarde@fedpractice.com
    Cc: Gina Simas gsimas@vgcllp.com, James Greeley jgreeley@vgcllp.com, Eric Montalvo emontalvo@fedpractice.com, Erik Cox
         ECox@fedpractice.com, Laura Berry lberry@fedpractice.com, Saroja Koneru SKoneru@fedpractice.com, Daisy Chung
         DChung@fedpractice.com, Lou Michels lmichels@fedpractice.com


       Good Morning Andrew,

       Mr. Ralph Heredia and Ms. Carmina can both be available August 10, and 11.
       Previously Ms. Vazquez had offered to conduct the deposition remotely. Mr. Heredia
       and Ms. carmina would both also prefer remote deposition.


       Sincerely,

       Rajan O. Dhungana


       From: Andrew White <awhite@vgcllp.com>
       Sent: Thursday, July 28, 2022 7:59 AM
       To: Rajan Dhungana <rdhungana@fedpractice.com>; 'Diyari Vazquez'
       <dvazquez@vgcllp.com>; Cristina Lagarde <clagarde@fedpractice.com>
       Cc: 'Gina Simas' <gsimas@vgcllp.com>; 'James Greeley' <jgreeley@vgcllp.com>; Eric
       Montalvo <emontalvo@fedpractice.com>; Erik Cox <ECox@fedpractice.com>; Laura
       Berry <lberry@fedpractice.com>; Saroja Koneru <SKoneru@fedpractice.com>; Daisy
       Chung <DChung@fedpractice.com>; Lou Michels <lmichels@fedpractice.com>; Cristina
       Lagarde <clagarde@fedpractice.com>
       Subject: RE: Depositions of Heredia and PMK of HBM; Request to Meet and Confer per
       L.R. 37-1
       Rajan,

       I am following up on my email below. Since sending the email below on Monday, 7/25,
       we have received no response from you to confirm Ms. Ledesma’s PMK status, or
       confirming the availability of either the PMK or Ralph Heredia for deposition prior to the
       discovery cut-off on 8/19/22. To date, since noticing these depositions on June 28, 2022,
       we have not received once single date of availability for the deposition of Ralph Heredia,
       and have been diligent in our efforts to secure available dates from you for both
       depositions.

       As stated below, please be advised if we have not been given confirmation of the PMK
       status of Ms. Ledesma, as well as dates certain within the given availability for the taking
       of each of these depositions, on or before 1:00 p.m. PST, today, 7/28/22, Diaz will be
       forced to move forward with the motion to compel these depositions, and seek an award
       of all available sanctions against your client and your firm. Please advise. Thank you.

       ___________________
       Andrew D. White, Esq. - Litigation Partner

       1515 7th Street, No. 106
       Santa Monica, CA 90401
Case 5:20-cv-02332-JWH-KK Document 139-2 Filed 08/16/22 Page 2 of 11 Page ID
                                 #:4617
  Santa Monica, CA 90401
  m: 714.907.5032 | email: awhite@vgcllp.com




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  attachments. UNAUTHORIZED INTERCEPTION PROHIBITED BY FEDERAL LAW (18 U.S.C. 2510-2522).


  From: Andrew White <awhite@vgcllp.com>
  Sent: Monday, July 25, 2022 3:19 PM
  To: 'Rajan Dhungana' <rdhungana@fedpractice.com>; 'Diyari Vazquez'
  <dvazquez@vgcllp.com>; 'Cristina Lagarde' <clagarde@fedpractice.com>
  Cc: 'Gina Simas' <gsimas@vgcllp.com>; 'James Greeley' <jgreeley@vgcllp.com>; 'Eric
  Montalvo' <emontalvo@fedpractice.com>; 'Erik Cox' <ECox@fedpractice.com>; 'Laura
  Berry' <lberry@fedpractice.com>; 'Saroja Koneru' <SKoneru@fedpractice.com>; 'Daisy
  Chung' <DChung@fedpractice.com>; 'Lou Michels' <lmichels@fedpractice.com>;
  'Cristina Lagarde' <clagarde@fedpractice.com>
  Subject: RE: Depositions of Heredia and PMK of HBM; Request to Meet and Confer per
  L.R. 37-1

  Rajan,

  Thank you for getting back to us with regard to the Person Most Knowledgeable (“PMK”)
  deposition. We wish Ms. Ledesma all the best in her recovery. Unfortunately, we are not
  available on the dates given to take this deposition.

  More importantly, before going down the road of selecting a date to take the deposition of
  Ms. Ledesma as PMK for HBM, we need confirmation from you that she is the actual
  PMK for each of the categories listed in the NOD. For the absence of confusion those
  categories are as follows:
Case 5:20-cv-02332-JWH-KK Document 139-2 Filed 08/16/22 Page 3 of 11 Page ID
                                 #:4618




  Our intent with this request is to avoid a situation where we spend the time, money and
  effort to prepare for this deposition, and schedule and pay a court reporter, only to have
  Ms. Ledesma testify she does not have the information required of the PMK for each
  category, or that somebody else at HBM is more knowledgeable. Please confirm.

  We still have not received any availability for the deposition of Ralph Heredia, or
  confirmation that he will appear for his deposition as noticed on August 11, 2022. Please
  confirm he will attend on August 11, 2022, or provide his availability.

  As it has now been almost one month since Diaz noticed these depositions, our
  availability is not the same. Our current availability to take and complete these
  depositions is as follows (no other dates are available):

        The week of August 8-12;
        August 15 or 16

  Please confirm Ms. Ledesma is the PMK for each category (and if she is not please
  advise who is and give their availability). Please also confirm which of the above dates
  you would like to select for each deposition.

  Please be advised that until we have been given confirmation of the PMK status of Ms.
  Ledesma, as well as dates certain within the given availability for the taking of each of
  these depositions, Diaz intends to move forward with the motion to compel these
  depositions.
  ___________________
  Andrew D. White, Esq. - Litigation Partner

  1515 7th Street, No. 106
  Santa Monica, CA 90401
  m: 714.907.5032 | email: awhite@vgcllp.com
Case 5:20-cv-02332-JWH-KK Document 139-2 Filed 08/16/22 Page 4 of 11 Page ID
                                 #:4619


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  From: Rajan Dhungana <rdhungana@fedpractice.com>
  Sent: Friday, July 22, 2022 4:16 PM
  To: Andrew White <awhite@vgcllp.com>; 'Diyari Vazquez' <dvazquez@vgcllp.com>;
  Cristina Lagarde <clagarde@fedpractice.com>
  Cc: 'Gina Simas' <gsimas@vgcllp.com>; 'James Greeley' <jgreeley@vgcllp.com>; Eric
  Montalvo <emontalvo@fedpractice.com>; Erik Cox <ECox@fedpractice.com>; Laura
  Berry <lberry@fedpractice.com>; Saroja Koneru <SKoneru@fedpractice.com>; Daisy
  Chung <DChung@fedpractice.com>; Lou Michels <lmichels@fedpractice.com>; Cristina
  Lagarde <clagarde@fedpractice.com>
  Subject: RE: Depositions of Heredia and PMK of HBM; Request to Meet and Confer per
  L.R. 37-1

  Good afternoon Mr. White,

  The PMK for Heredia Boxing Management, Ms. Carmina Ledesma, has just tested
  positive for Covid and will need to quarantine and recuperate for 10 days.
  As such, we can propose deposition dates for Monday August 1, Tuesday August 2,
  Wednesday August 3, or Thursday August 4.

  Please let me know which dates work best for you.

  Sincerely,




  From: Andrew White <awhite@vgcllp.com>
  Sent: Thursday, July 21, 2022 2:41 PM
  To: 'Diyari Vazquez' <dvazquez@vgcllp.com>; Cristina Lagarde
  <clagarde@fedpractice.com>
  Cc: 'Gina Simas' <gsimas@vgcllp.com>; Rajan Dhungana
  <rdhungana@fedpractice.com>; 'James Greeley' <jgreeley@vgcllp.com>; Eric Montalvo
  <emontalvo@fedpractice.com>; Erik Cox <ECox@fedpractice.com>; Laura Berry
Case 5:20-cv-02332-JWH-KK Document 139-2 Filed 08/16/22 Page 5 of 11 Page ID
                                 #:4620
  <emontalvo@fedpractice.com>; Erik Cox <ECox@fedpractice.com>; Laura Berry
  <lberry@fedpractice.com>; Saroja Koneru <SKoneru@fedpractice.com>; Daisy Chung
  <DChung@fedpractice.com>; Lou Michels <lmichels@fedpractice.com>; Cristina
  Lagarde <clagarde@fedpractice.com>
  Subject: Depositions of Heredia and PMK of HBM; Request to Meet and Confer per L.R.
  37-1

  Rajan,

  As you know, on June 28, 2022, Diaz served notices of deposition of Ralph Heredia and
  the PMK of HBM to take place on July 7 and 8, 2022, respectively. Because you
  objected and refused to produce these witnesses for deposition prior to the then
  discovery cut-off deadline, in its Order dated July 12, 2022, the Court granted Diaz’s ex
  parte application and extended the discovery cut-off deadline to August 19, 2022, solely
  for the purpose of completing these two depositions.

  Beginning on July 12, 2022 (the date of the order extending the discovery cut-off), my
  office has followed up 4 times to request the availability of the two witnesses for
  deposition. To date, your office has failed to provide any availability for these two
  depositions to take place prior to the new discovery cut-off deadline. Therefore, as we
  are still facing a deadline from the Court, please see the attached Amended deposition
  notices setting the depositions for August 11 and 12, 2022.

  Further, per L.R. 37-1, please accept this as a letter to meet and confer in good faith
  before Diaz’s filing of a motion to compel the depositions of Ralph Heredia and the PMK
  of HBM. To be clear, and to comply with LR 37-1, the issue in dispute is Defendant’s
  continued failure to produce Ralph Heredia and the PMK of HBM for deposition prior to
  the discovery cut-off deadline. Diaz’s position is that the Court ordered an extension of
  the discovery cut-off deadline for the sole purpose of allowing Diaz to complete these two
  depositions. Since the Court’s Order, Diaz has requested on multiple occasions the
  availability of these two witnesses for deposition but defendants have failed to provide
  any availability. To ensure defendants produce the deponents for deposition, Diaz must
  initiate meet and confer efforts per L.R. 37-1 before filing a motion to compel due to
  defendants’ failure to produce these deponents (which it genuinely seeks to avoid).

  By 5:00 p.m. pst today, July 21, 2022, please either confirm that defendants will
  produce the two deponents on the dates contained in the amended notices, or on other
  available dates you can confirm before the 8/19/22 discovery cut-off deadline, or
  alternatively, let me know when you are available today for an L.R. 37-1 telephone
  conference. If we do not receive confirmation you will produce the deponents on dates
  certain before the 8/19 discovery cut-off or if you refuse to participate in an L.R. 37-1
  meet and confer teleconference before 5:00 p.m. pst today, this evening we will send you
  Diaz’s Joint Stipulation re: Motion to Compel Depositions of Ralph Heredia and PMK of
  HBM, and for sanctions against defendants and counsel.

  ___________________
  Andrew D. White, Esq. - Litigation Partner

  1515 7th Street, No. 106
  Santa Monica, CA 90401
  m: 714.907.5032 | email: awhite@vgcllp.com
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  From: Diyari Vazquez <dvazquez@vgcllp.com>
  Sent: Thursday, July 21, 2022 10:47 AM
  To: Cristina Lagarde <clagarde@fedpractice.com>
  Cc: Andrew White <awhite@vgcllp.com>; Gina Simas <gsimas@vgcllp.com>; Rajan
  Dhungana <rdhungana@fedpractice.com>; James Greeley <jgreeley@vgcllp.com>; Eric
  Montalvo <emontalvo@fedpractice.com>; Erik Cox <ECox@fedpractice.com>; Laura
  Berry <lberry@fedpractice.com>; Saroja Koneru <SKoneru@fedpractice.com>; Daisy
  Chung <DChung@fedpractice.com>; Lou Michels <lmichels@fedpractice.com>
  Subject: Re: Courtesy Copy - Opposition to Diaz Ex Parte Application for an Order
  Continuing the Discovery Cut-Off Deadline

  Thank you, Cristina. Although we are optimistic that the parties have resolved this matter,
  we are still facing a deadline from the court. Therefore, we need to get these depositions
  on calendar. We are amenable to conducting them virtually to accommodate the
  witnesses. We are available August 2-5, 9-12. Please let us know the witnesses’
  availability.

  Thanks,

  —

  Diyari Vázquez l Head of Litigation & Employment




  1515 7th Street, No. 106
  Santa Monica, CA 90401
  T: 424 272 9855
  www.vgcllp.com

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                                 #:4622
  attachments. UNAUTHORIZED INTERCEPTION PROHIBITED BY FEDERAL LAW (18 U.S.C. 2510-2522).



        On Jul 19, 2022, at 3:42 PM, Cristina Lagarde <clagarde@fedpractice.com>
        wrote:

        Ms. Vazquez,

        I want to provide a status update regarding pending deposition dates. We were
        informed today that our witness for the 30b6 tested positive for Covid. We are
        trying to determine the exact date as to when the virus was contracted. The
        individual will need time to recuperate from the illness and also account for
        quarantine time. As soon as we determine the exact date, I will follow up and
        provide you with potential deposition dates.

        Thank you.

        Sincerely,

        <image002.png>

        <image003.png><image004.png><image005.png><image006.png>

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        From: Diyari Vazquez <dvazquez@vgcllp.com>
        Sent: Thursday, July 14, 2022 7:51 PM
        To: Cristina Lagarde <clagarde@fedpractice.com>
        Cc: Andrew White <awhite@vgcllp.com>; Gina Simas
        <gsimas@vgcllp.com>; Rajan Dhungana <rdhungana@fedpractice.com>;
        James Greeley <jgreeley@vgcllp.com>; Eric Montalvo
        <emontalvo@fedpractice.com>; Erik Cox <ECox@fedpractice.com>; Laura
        Berry <lberry@fedpractice.com>; Saroja Koneru
        <SKoneru@fedpractice.com>; Daisy Chung <DChung@fedpractice.com>;
        Lou Michels <lmichels@fedpractice.com>; Cristina Lagarde
        <clagarde@fedpractice.com>
        Subject: Re: Courtesy Copy - Opposition to Diaz Ex Parte Application for an
        Order Continuing the Discovery Cut-Off Deadline

        Following up on the deposition dates. Can you please provide dates when
        Mr. Heredia and the PMK for HBM will be available for deposition? We have
        provided our availability for both July and August prior to the cut-off. Please
        provide yours so that we can re-issue the deposition notices. Thanks.
Case 5:20-cv-02332-JWH-KK Document 139-2 Filed 08/16/22 Page 8 of 11 Page ID
                                 #:4623

       —

       Diyari Vázquez l Head of Litigation & Employment



       <image007.png>
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       Santa Monica, CA 90401
       T: 424 272 9855
       www.vgcllp.com

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       2510-2522).



              On Jul 13, 2022, at 6:39 PM, Diyari Vazquez
              <dvazquez@vgcllp.com> wrote:

              We are available August 2-5, 9-12. Please let us know what
              days work.

              Thanks,
              —

              Diyari Vázquez l Head of Litigation & Employment



              <VGC_logo-revision_nobkgd_EMailSignature.png>
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              Santa Monica, CA 90401
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                      On Jul 13, 2022, at 2:25 PM, Cristina Lagarde
                      <clagarde@fedpractice.com> wrote:
Case 5:20-cv-02332-JWH-KK Document 139-2 Filed 08/16/22 Page 9 of 11 Page ID
                                 #:4624

                 <clagarde@fedpractice.com> wrote:

                 Ms. Vazquez,

                 Good afternoon.

                 I am responding on behalf of Mr. Dhungana and Mr.
                 Montalvo regarding deposition scheduling. Counsel
                 has conflicts for the dates proposed below. Please
                 provide us with your availability in August and will
                 coordinate on my end.

                 Thank you.

                 Sincerely,

                 <image001.png>

                 <image003.png><image004.png><image005.png>
                 <image006.png>

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                 From: Diyari Vazquez <dvazquez@vgcllp.com>
                 Sent: Tuesday, July 12, 2022 9:09 PM
                 To: Rajan Dhungana <rdhungana@fedpractice.com>
                 Cc: Andrew White <awhite@vgcllp.com>; Gina
                 Simas <gsimas@vgcllp.com>; James Greeley
                 <jgreeley@vgcllp.com>; Eric Montalvo
                 <emontalvo@fedpractice.com>; Erik Cox
                 <ECox@fedpractice.com>; Laura Berry
                 <lberry@fedpractice.com>; Saroja Koneru
                 <SKoneru@fedpractice.com>; Cristina Lagarde
                 <clagarde@fedpractice.com>; Daisy Chung
                 <DChung@fedpractice.com>
                 Subject: Re: Courtesy Copy - Opposition to Diaz Ex
                 Parte Application for an Order Continuing the
                 Discovery Cut-Off Deadline

                 Rajan,
Case 5:20-cv-02332-JWH-KK Document 139-2 Filed 08/16/22 Page 10 of 11 Page ID
                                  #:4625


                  Pursuant to the Court’s order granting Mr. Diaz’s ex
                  parte application and continuing the discovery cut-off
                  for the purpose of Mr. Diaz taking the depositions of
                  the defendants, we would like to schedule the
                  depositions of Mr. Heredia and the PMK of Heredia
                  Boxing Management.

                  We are available July 26-28 for these depositions.
                   Please let us know what days work best for you and
                  your clients.

                  Thank you.
                  —

                  Diyari Vázquez l Head of Litigation & Employment



                  <image007.png>
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                  Santa Monica, CA 90401
                  T: 424 272 9855
                  www.vgcllp.com

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                          On Jul 8, 2022, at 5:04 PM, Rajan
                          Dhungana
                          <rdhungana@fedpractice.com> wrote:

                          Good afternoon Counsels,

                          Please see attached for a courtesy copy
                          of our opposition to Diaz Ex Parte
                          Application.



                          <image001.png>
Case 5:20-cv-02332-JWH-KK Document 139-2 Filed 08/16/22 Page 11 of 11 Page ID
                                  #:4626

                       <129-main.pdf><129-1.pdf><129-2.pdf>
